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                         EXHIBIT 1
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

   TIMOTHY KING, MARIAN ELLEN
   SHERIDAN, JOHN EARL HAGGARD,
   CHARLES JAMES RITCHARD, JAMES
   DAVID HOOPER and DAREN WADE
   RUBINGH,                      No. 2:20-cv-13134


                Plaintiffs,                         Hon. Linda V. Parker

     v.




   GRETCHEN WHITMER, in her official
   capacity as Governor of the State of Michigan,
   et al,

               Defendants,

    and

   CITY OF DETROIT, et al,

               Intervenor-Defendants.

      CITY OF DETROIT’S [PROPOSED] SUPPLEMENTAL BRIEF IN
     SUPPORT OF MOTION FOR SANCTIONS, FOR DISCIPLINARY
    ACTION, FOR DISBARMENT REFERRAL AND FOR REFERRAL TO
                STATE BAR DISCIPLINARY BODIES
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                                      ARGUMENT

        The attorneys who spread the seditious lies that led to the insurrection of

  January 6, 2021, are now trying to escape accountability by again misrepresenting

  facts to this Court. In response to the City of Detroit’s (the “City”) request for

  sanctions against Plaintiffs’ counsel, Plaintiffs have attempted to deny or minimize

  Lin Wood’s involvement in this dangerous lawsuit. Plaintiffs claimed “[t]he only

  signator or appearance made in the short life of this case has been by Plaintiffs’ local

  counsel.” (ECF No. 111, PageID.4556). Plaintiffs argued that Lin Wood did not

  “appear in, commence, conduct, prosecute…or otherwise practice in this court” in

  this matter. Id. Plaintiffs further argued that Lin Wood’s conduct is “entirely

  irrelevant to a Rule 11 consideration, particularly because…[he was not an] actual

  signer[] of the pleading….” (ECF No. 111, PageID.4561).1 And yet, despite

  Plaintiffs’ efforts to save themselves and their counsel from sanctions by attempting

  to diminish the extent of Lin Wood’s involvement in this lawsuit, just last week, Lin

  Wood told an appellate court in Delaware2 that he “represented plaintiffs challenging

  the results of the 2020 Presidential election in Michigan….” Ex. A – Appellant’s

  Opening Brief in Case No. 69, 2021, in the Supreme Court of the State of Delaware,


        1
           As discussed in the City’s Reply, an attorney need not be a “signer” to a
  pleading to be sanctioned under Rule 11. (ECF No. 103, PageID.4186-4187).
        2
           Lin Wood is appealing a Delaware court’s revocation of his pro hac vice
  admission in a case in which he was representing Carter Page in a defamation
  lawsuit.
                                          1
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  pg. 4. Lin Wood boasted that “[i]n the days and weeks following the election, [he]

  became involved in litigation contesting the election’s results or the manner votes

  were taken or counted in critical ‘swing states.’ Among those cases in which [he]

  became involved [was a] lawsuit[] in…Michigan.” Id. at pg. 5. Lin Wood touts his

  involvement in this case when he believes it could help him and denies his

  involvement when he fears it could hurt him.

                                     CONCLUSION

        For the reasons discussed in this Supplemental Brief and in the City’s

  principal brief and reply brief, the City respectfully requests that this Court enter an

  Order sanctioning Plaintiffs and their counsel and initiating disciplinary proceedings

  in the manner identified in the Motion.

                                                     Respectfully submitted,

   May 11, 2021                                      FINK BRESSACK

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                            CERTIFICATE OF SERVICE
        I hereby certify that on May 11, 2021, I electronically filed the foregoing

  paper with the Clerk of the court using the electronic filing system, which sends

  notice to all counsel of record.

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                                                     iii
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                   NATURE AND STAGE OF PROCEEDINGS

        On July 27, 2020, Carter Page filed a complaint alleging, inter alia,

  defamation of character against Oath, Inc., a Delaware corporation that is the parent

  company of Yahoo! News and TheHuffingtonPost.com. Appellant L. Lin Wood

  (“Wood”) is an attorney licensed to practice law in the State of Georgia. By order

  dated August 18, 2020, the Superior Court of the State of Delaware granted Wood’s

  motion for admission pro hac vice pursuant to Delaware Superior Court Civil Rule

  90.1 and Wood subsequently entered his appearance on Page’s behalf. Oath, Inc.

  filed a Motion to Dismiss Page’s complaint pursuant to Superior Court Civil Rule

  12(b)(6) on September 18, 2020. That motion was briefed by the parties and argued

  before the Superior Court.

        On December 18, 2020 the Superior Court, sua sponte, issued to Wood a Rule

  to Show Cause probing why he should be permitted to continue practicing before it

  pro hac vice. The Rule to Show Cause did not take issue with any of Wood’s actions

  in the Carter Page litigation before the Delaware Superior Court, but instead focused

  on unrelated litigation in which Wood was involved as counsel or a party. Wood

  responded to the Rule to Show Cause by affidavit dated January 6, 2021 as directed.

  On January 11, 2021, without conducting an evidentiary hearing, the Superior Court

  issued an order revoking Wood’s pro hac vice admission to practice as Plaintiff




                                           1
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  Carter Page’s counsel of record. The Superior Court denied Wood’s request to

  reargue the Rule to Show Cause.

          After the revocation, Wood, as a pro se litigant, filed a timely Motion for

  Reargument on January 19, 2021. In its February 11, 2021 Memorandum and Order,

  the trial court references in a footnote that Wood failed to file the motion

  electronically.

        Following argument on January 27, 2021, the Superior Court granted Oath,

  Inc.’s Motion to Dismiss by memorandum opinion dated February 11, 2021. This

  is Wood’s timely Appeal from the Superior Court’s revocation of his pro hac vice

  privilege.




                                           2
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                        SUMMARY OF THE ARGUMENT

  1.    The Superior Court abused its discretion by sua sponte revoking Appellant L.
        Lin Wood’s pro hac vice privileges where that revocation was based upon
        conduct unrelated to the litigation for which Wood was admitted to practice
        pro hac vice, where the conduct in those other jurisdictions was not found to
        have violated any those jurisdictions’ rules of professional conduct, and where
        Wood’s conduct before the Superior Court met the requirements of the
        Delaware Lawyers’ Rules of Professional Conduct and did not threaten to
        prejudice the fairness of the proceedings.




                                           3
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                             STATEMENT OF FACTS

        Appellant L. Lin Wood is a well-known attorney who enjoys a stellar

  reputation in his home state of Georgia where he is licensed to practice law. With

  Wood’s reputation comes a degree of notoriety attributable to his involvement in

  numerous high-profile cases around the United States where he has been admitted

  to practice before both state and Federal tribunals on a pro hac vice basis. By way

  of illustration, Wood represented plaintiffs challenging the results of the 2020

  Presidential election in Michigan and Wisconsin. (A0071). Wood also filed suit

  pro se in Georgia challenging the 2020 General Election. (A0096). Many of the

  high-profile cases brought or prosecuted by Wood have conservative-leaning

  political undertones.

        Carter Page’s (“Page”) defamation suit against Oath, Inc. (“Oath”) carried

  such political undertones with it. Page’s case against Oath alleged that articles

  published by its subsidiaries Yahoo! News (“Yahoo”) and TheHuffingtonPost.com

  (“Huffington”) falsely accused him of colluding with Russian agents to interfere

  with the 2016 Presidential election. (A0079 – A0082). Page’s suit against Oath was

  filed on July 27, 2020 in the Superior Court of the State of Delaware. (A0081).

  Wood was admitted as Page’s counsel pro hac vice pursuant to a Motion and Order

  under Superior Court Civil Rule 90.1 on August 18, 2020. (A0002). At all times

  relevant to Wood’s representation of Page, he acted in compliance with the Delaware

                                          4
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  Lawyers’ Rules of Professional Conduct and the Superior Court Rules of Civil

  Procedure, including Superior Court Civil Rule 90.1.

        While Page’s case was pending before the Superior Court, the highly

  controversial General Election of 2020 took place. In the days and weeks following

  the election, Wood became involved in litigation contesting the election’s results or

  the manner votes were taken or counted in critical “swing states”. (A0071; A0096).

  Among those cases in which Wood became involved were lawsuits in Wisconsin,

  Michigan, and Wood’s own suit in the State of Georgia. (A0071; A0096). Each of

  these matters was unrelated to Page’s Delaware defamation lawsuit where Wood

  was Page’s pro hac vice counsel of record.

        On December 18, 2020, following national attention surrounding litigation

  challenging the outcome of the 2020 Presidential election, the trial judge in Page’s

  case issued Wood a Rule to Show Cause and directed him to respond on or before

  January 6, 2021. (A0005; A0009). In that Rule to Show Cause, the trial judge

  focused primarily on Wood’s involvement in election-related cases. (A0005 –

  A0008). The trial judge particularly took umbrage with Wood’s involvement in

  litigation in Wisconsin and Georgia; the Michigan litigation is addressed only in

  passing in the December 18, 2020 Rule to Show Cause. (A0005 – A0008).

        With respect to the Wisconsin litigation, the Superior Court focused its ire on

  several factors, many of which were not directly attributable to Wood. (A0006 –


                                           5
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  A0008). Specifically of interest were the initial pleadings which contained multiple

  typographical errors and a response to a Motion to Dismiss that relied upon a

  fictitious citation. (A0006). It is unclear what, if any involvement Wood had in

  drafting the initial pleadings in that case. Regarding the response to the Motion to

  Dismiss, although Wood was listed as counsel of record, his signature was not

  affixed to the pleading. (A006).

        When assessing the Georgia litigation where Wood was the plaintiff, the

  Superior Court gave significant weight to the Georgia court’s dismissal of the case.

  (A0071; A0074). In its order dismissing the case, the Georgia trial court stated that

  Wood did not suffer any demonstrable harm and that there was consequently no

  basis in law or fact to grant the injunctive relief he sought. (A0007). The Superior

  Court judge held that Wood’s conduct filing the Georgia suit “may violate DRPC

  Rule 3.1”. (A0007, emphasis added).

        In its February 11, 2021 Order revoking Wood’s pro hac vice admission, the

  Superior Court gave little weight to Wood’s response to the Rule to Show Cause. In

  his response, Wood set forth that he had violated no ethical rules before the Superior

  Court and that neither the Wisconsin nor Georgia courts had found any ethical

  violation. (A0072). Moreover, the Superior Court ignored an affidavit submitted

  by Charles Slanina, Esq. setting forth that it is the province of authorities other than

  the Superior Court to make determinations respecting ethical violations. (A0072 –


                                             6
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  A0073). Likewise, the Superior Court ignored Wood’s proposal to voluntarily

  withdraw from the case and instead elected to issue an extra-disciplinary order

  revoking Wood’s pro hac vice admission. (A0012; A0069 – A0076).

        Following the Superior Court’s revocation of his pro hac vice admission,

  defense counsel in an unrelated matter in the Eastern District of New York moved

  for revocation of Wood’s pro hac vice admission to that court. (A0119). Among

  other things, the motion to revoke Wood’s pro hac vice admission to the Eastern

  District of New York cited to the Superior Court’s memorandum opinion and order

  revoking Wood’s admission pro hac vice. (A0140 – A0141).




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                                          ARGUMENT

         I.      THE SUPERIOR COURT ABUSED ITS DISCRETION WHEN
                 IT REVOKED WOOD’S PRO HAC VICE ADMISSION SUA
                 SPONTE.

                                       Question Presented

         Whether the Superior Court’s sua sponte revocation of Wood’s pro hac vice

  admission constitutes an abuse of discretion where the identified offending conduct

  took place in other jurisdictions, in unrelated matters, where no rules of professional

  conduct had been violated, and where the conduct did not prejudice the fair and

  efficient administration of justice constitutes an abuse of the Superior Court’s

  discretion under Delaware Superior Court Rule of Civil Procedure 90.1.

                                Standard and Scope of Review

         This Court has held that an out-of-state attorney, upon entry of final judgment

  in the underlying case, has a right of appeal independent of his former client where

  his pro hac vice status has been revoked.1 This Court reviews a trial court’s decision

  to impose sanctions for an abuse of discretion. 2 When reviewing the imposition of

  sanctions, including revocation of an attorney’s pro hac vice status on motion of an

  adverse party, the Third Circuit has adopted an abuse of discretion standard of

  review.3    Similarly, the Third Circuit has held that abuse of discretion is the

  1
    See, Gottlieb v. State, 697 A.2d 400, 403 (Del. 1997).
  2
    Crumplar v. State, 56 A.3d 1000 (Del. 2012).
  3
    In re Surrick, 338 F.3d 224, 229 (3d Cir. 2003).
                                                  8
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  appropriate standard of review in determining the appropriateness of a trial court’s

  response to alleged attorney misconduct.4            Likewise, the Commonwealth of

  Pennsylvania applies an abuse of discretion standard to review of a trial court’s

  revocation of an out-of-state attorney’s pro hac vice status.5 A trial court’s sua

  sponte revocation of an out-of-state attorney’s pro hac vice admission, however,

  appears to present a case of first impression to this Court.

                                    Merits of Argument

  A.     The Superior Court has limited authority to revoke an out-of-state attorney’s
         pro hac vice status.

         Parties to litigation have a fundamental right to choose their counsel and that

  right should not be abrogated except under exceptional circumstances. 6 Delaware

  courts, like courts in its sister jurisdictions, acknowledge this fundamental right of

  litigants by permitting out-of-state attorneys to practice before them on a pro hac

  vice basis. An out-of-state attorney’s pro hac vice admission is not infallible and

  without limitations, however, and it may be revoked under appropriate

  circumstances.7




  4
    Forrest v. Beloit Corp., 424 F.3d 344, 349 (3d Cir. 2005).
  5
    Blue Ribbon Packing Corp. v. Hughes, 2019 WL 210449 (Pa. Super. Ct. Jan. 16, 2019) (citing
  ACE Am. Ins. Co. v. Underwriters at Lloyds & Cos., 939 A.2d 935, 948 (Pa. Super. Ct. 2007).
  6
    Lendus, LLC v. Goede, 2018 WL 6498674 at *8 (Del. Ch. Dec. 10, 2018).
  7
    Del. Super. Ct. Civ. R. 90.1(e)
                                               9
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         In admitting an out-of-state attorney to practice before them pro hac vice,

  Delaware courts are guided by their rules of procedure. 8 A trial court’s authority to

  revoke an out-of-state attorney’s pro hac vice status, however, is limited.9 Where a

  party to litigation seeks the sanction of revocation of an out-of-state attorney’s pro

  hac vice privileges, the moving party must demonstrate by clear and convincing

  evidence that the out-of-state attorney’s behavior is sufficiently egregious to “call

  into question the fairness or efficiency of the administration of justice.” 10 Delaware

  trial courts also have inherent power to revoke an out-of-state attorney’s pro hac vice

  status sua sponte in circumstances where the out-of-state attorney’s continued

  admission pro hac vice would be “inappropriate or inadvisable.”11 A trial court

  seeking to revoke an out-of-state attorney’s pro hac vice admission sua sponte may

  do so only after it has given notice of the offending conduct and conducted a hearing

  or given the out-of-state attorney a meaningful opportunity to respond to the court.12

         Delaware courts’ inherent power to sanction attorney misconduct which

  occurs before it was reinforced by this Court in Ramunno.13 In that case, a Delaware

  trial judge found a Delaware attorney to have engaged in undignified and


  8
     See, e.g., Del. Ch. R. 170; Del Super Ct. Civ. R. 90.1; Del. Super. Ct. Crim. R. 63; Del. Ct.
  Comm. Pl. Civ. R. 90.1; Del. Ct. Comm. Pl. Crim. R. 62.
  9
    Crowhorn v. Nationwide Mut. Ins. Co., 2002 WL 1274052 (Del. Super. Ct. May 6, 2002).
  10
     Manning v. Vellardita, 2012 WL 1072233, at *2 (Del. Ch. 2012).
  11
      Del. Super. Ct. Civ. R. 90.1(e); accord In the Matter of Rammuno, 625 A.2d 248, 249 (Del.
  1993) (court raised issue of sanctions sua sponte).
  12
     Id.
  13
     In the Matter of Ramunno, 625 A.2d 248 (Del. 1993).
                                                10
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  discourteous behavior when during an office conference; the offending attorney

  referred to opposing counsel in a “crude, but graphic, anal term.”14 The attorney’s

  remark was not overheard by opposing counsel but was heard clearly by the

  presiding judge and he was summarily cited for contempt.15 In a pre-trial hearing

  the following day, the Delaware attorney at issue moved for the presiding judge to

  recuse himself arguing that the prior day’s contempt citation biased the judge against

  the attorney’s client. 16 In presenting his motion to the trial court, the attorney

  engaged in a terse colloquy with the court which resulted in further contempt

  sanctions.17

          Following the trial in Ramunno, opposing counsel referred the matter to the

  Board on Professional Responsibility which charged the attorney with engaging in

  “undignified or discourteous conduct which is degrading to a tribunal” in violation

  of Delaware Lawyers Rule of Professional Conduct 3.5(c). 18 The Board dismissed

  the charges following a hearing on the basis that there had been no clear and

  convincing showing that the attorney engaged in misconduct warranting further

  sanctions.19 On appeal, this Court remanded the matter to the Board in that its

  finding was inconsistent with Board Rules directing that “conviction for any crime


  14
     Id. at 249
  15
     Id.
  16
     Id.
  17
     Id.
  18
     Id.
  19
     Id.
                                           11
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  is conclusive evidence of the commission of that crime”.20 In reaching its final ruling

  upon the matter, this Court set forth that the appropriate standard in determining the

  appropriateness of sanctions is “whether [the attorney’s] rude and uncivil behavior

  was degrading to the court below.21

  1.     Delaware trial courts have clear guidance in reaching the decision whether to
         revoke an out-of-state attorney’s pro hac vice status upon motion of a party.

         In State v. Grossberg, the Superior Court, upon motion by opposing counsel,

  revoked an out-of-state attorney’s pro hac vice status after the out-of-state attorney

  blatantly disregarded the Superior Court’s order limiting extra-judicial statements

  pertaining to the case before it.22 In Grossberg, the defendant was charged with

  multiple homicide offenses under Title 11 of the Delaware Code.23 The case had

  garnered significant local and national media attention. 24      Following an office

  conference with counsel, the Superior Court entered an order limiting pretrial

  publicity and further limiting all persons “assisting or associated with counsel” from

  making “extrajudicial statements that counsel for the State would be prohibited from

  making under Rule 3.6” of the Delaware Lawyers’ Rules of Professional Conduct.25

  Shortly after entering the preceding order, the Superior Court expanded its order



  20
     Id.
  21
     Id. at 250.
  22
     705 A.2d 608 (Del. Super. 1997).
  23
     Id. at 609.
  24
     Id. at 609-10.
  25
     Id. at 610.
                                            12
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  directing that “parties make no comment to the media other than on scheduling

  matters.26

          Several months after the Superior Court had entered its orders pertaining to

  pretrial publicity and extrajudicial statements, Grossberg’s Delaware counsel moved

  for the admission pro hac vice of Robert C. Gottlieb, Esq. 27 Gottlieb was a well-

  accomplished member of the New York Bar.28 In his affidavit of admission pro hac

  vice, Gottlieb affirmed that he would be bound by the Delaware Lawyers’ Rules of

  Professional Conduct and he was thus admitted pro hac vice.

          Within days of his pro hac vice admission, Gottlieb made a television

  appearance speaking about the venire and others associated with the Case.29 He also

  appeared on a local news broadcast stating that Grossberg “didn’t commit a crime.” 30

  Around the same time, Gottlieb had arranged for Grossberg, her parents, and himself

  to be interviewed by Barbara Walters on a national news broadcast. 31 Shortly after

  the Barbara Walters interview was recorded, Gottlieb wrote to the court and

  opposing counsel ensuring that the interview strictly adhered to the court’s prior

  order limiting media exposure and extrajudicial commentary. 32 His letter further



  26
     Id.
  27
     Id. at 611.
  28
     Id.
  29
     Id.
  30
     Id.
  31
     Id.
  32
     Id.
                                           13
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  reassured the court that Grossberg, her parents, and he “did not [. . .] discuss the

  evidence pertaining to the case or expected testimony. 33

          During the interview, which aired a short time after Gottlieb’s letter to the

  court and opposing counsel, Gottlieb expressed his personal opinion that Grossberg

  had not committed a crime and that she should not have been charged with a crime.34

  Gottlieb further stated that “it’s never too late to do what is right based on the

  evidence” during his portion of the interview. 35 Gottlieb concluded his portion of

  the interview asking the State to look at the case anew.36

          During her portion of the interview, Grossberg described herself as a child.37

  She also responded to questions pertaining to what the past several months had been

  like, her feelings toward her co-defendant, and her physical health in the time leading

  up to the acts forming the basis of the charges against her. 38 Grossberg further

  responded to interview questions by stating she “would never hurt anything or

  anybody, especially something that could come from me.”39 Grossberg concluded

  her portion of the interview stating “I wouldn’t hurt anybody or anything, especially

  something of mine.”40


  33
     Id. at 613.
  34
     Id. at 611.
  35
     Id.
  36
     Id.
  37
     Id.
  38
     Id.
  39
     Id.
  40
     Id. at 612.
                                            14
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            Following the interview being aired, the State moved for sanctions against

  Gottlieb arguing that he had violated the Superior Court’s order limiting pretrial

  publicity and that he was in violation of the Rules of Professional Conduct.41

  Gottlieb took the position that he had not violated the courts order nor the rules of

  professional conduct. 42 In reaching its decision to revoke Gottlieb’s pro hac vice

  status, the Superior Court found that his letter to the court prior to the airing of the

  interview was a misstatement of fact.43 The Superior Court further found that

  Gottlieb’s statements to local news outlets and during the nationally televised

  Barbara Walters interview plainly conveyed his personal opinion as to Grossberg’s

  innocence in violation of Delaware Lawyers’ Rule of Professional Conduct 3.6 and

  that they were strategically timed to rekindle public interest in the Grossberg case.44

  The Superior Court further found that Gottlieb had violated Delaware Lawyers’ Rule

  of Professional Conduct 3.6 by orchestrating the Barbara Walters interview and

  assisting Grossberg and her parents in violating the rule. 45 In light of these factors,

  the Superior Court sanctioned Gottlieb with revocation of his admission pro hac

  vice.46




  41
     Id.
  42
     Id.
  43
     Id. at 613.
  44
     Id.
  45
     Id.
  46
     Id.
                                            15
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         In Mumford, out-of-state counsel was admitted pro hac vice to represent the

  defendant in a condemnation matter before the Superior Court.47 Prior to his

  admission pro hac vice, the out-of-state attorney affirmed that he would comport his

  behavior to the Rules of Professional Conduct and of the Superior Court. 48 During

  a deposition of the defendant where he used crude and profane language and engaged

  in threatening behavior toward opposing counsel, the defendant’s out-of-state

  counsel failed to intervene to control the deponent.49 Following the offending

  deposition, plaintiff’s counsel moved revocation of the out-of-state attorney’s pro

  hac vice admission.50 The court based its conclusion that the out-of-state attorney’s

  continued admission was inappropriate and inadvisable heavily upon the offending

  party’s profane, hostile, and disrespectful demeanor in conjunction with the out-of-

  state attorney’s failure to “take steps to restrain” the offending party’s behavior and

  “attempt to restore decorum.”51

  2.     Sua sponte imposition of sanctions upon an attorney requires Delaware trial
         courts to apply an objective standard.

         As Ramunno demonstrates, Delaware trial courts have broad discretion in

  raising the issue of sanctions sua sponte to address incidents of attorney misconduct




  47
     State v. Mumford 731 A.2d 831, 832 (Del. Super. 1999).
  48
     See e.g. State v. Mumford, 731 A.2d 831 (Del. Super. 1999).
  49
     Id.
  50
     Id. at 835.
  51
     Id. at 835-36.
                                                16
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  which occur in their presence.52 Delaware trial courts do not, however, have

  authority to conduct disciplinary proceedings.53 This is consistent with Crowhorn

  where the Superior Court acknowledged that it does not have authority to conduct

  disciplinary proceedings despite it having the inherent power to “disqualify an

  attorney for unethical conduct that is committed in proceedings before it.”54

         In Crumplar v. Superior Court, this Court first addressed the question of the

  standard and process required of a Delaware trial court in raising the issue of Rule

  11 sanctions sua sponte.55 The Superior Court in Crumplar sanctioned an attorney

  for two perceived violations of Rule 11 sua sponte.56 The Superior Court issued its

  first order to show cause after the attorney had supplied the court with the incorrect

  case name for a correct proposition of law. 57 The second order to show cause was

  issued after the attorney failed to distinguish precedent that was cited by opposing

  counsel.58 The attorney responded to the court’s first order by describing the steps

  that he had taken in identifying the correct case name.59 With respect to the court’s

  second order, the attorney responded that Rule 11 did not impose a duty to cite




  52
     In the Matter of Ramunno, 625 A.2d 248 (Del. 1993).
  53
     Crumplar v. Superior Court, 56 A.3d 1000, 1009 (Del. 2012).
  54
     Crowhorn, 2002 WL 1274052 (Del. Super. May 6, 2002).
  55
     56 A.3d 1000 (Del. 2012).
  56
     Id. at 1003-04.
  57
     Id. at 1003.
  58
     Id. at 1004.
  59
     Id. at 1003.
                                               17
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  contrary authority that had already been raised by the opposing party.60 After finding

  the attorney’s responses to the orders to show cause were insufficient, the Superior

  Court imposed a $25,000.00 penalty and justified the sanction by noting that

  asbestos settlements and verdicts are typically many times the sanction imposed. 61

         On appeal this Court acknowledged that Rule 11 imbues trial courts with

  authority to impose sanctions for violations of the Rule sua sponte.62 Pursuant to

  the Rule however, sanctions may only be imposed following notice and a reasonable

  opportunity to respond.63 Because the legal profession in Delaware “demands more

  than pure hearts and empty minds”, this Court adopted an objective standard where

  trial courts are to determine whether Rule 11 sanctions are merited. 64

  3.     A Delaware trial court lacks authority to disqualify counsel for technical
         violations of the Delaware Lawyers’ Rules of Professional Conduct.

         Delaware trial courts may not disqualify an attorney from representing a party

  upon a finding of a technical violation of the Delaware Lawyers’ Rules of

  Professional Conduct relating to conflicts of interest.65 Where a trial court seeks to



  60
     Id. at 1004.
  61
     Id.
  62
     Id. at 1005.
  63
     Id.
  64
     Id. at 1008.
  65
     In re Infotechnology, Inc., 582 A.2d 215 (Del. 1990); see also Kaplan v. Wyatt, 1984 WL 8274
  at *6 (Del. Ch. 1984) (adopting Hahn v. Boeing Co., 621 P.2d 1263, 1266-67 (Wash. 1980)
  (Holding that a trial court lacks authority to conduct quasi-disciplinary proceedings in ruling
  upon motion for pro hac vice admission where out-of-state attorney applicant may have violated
  a Rule of Professional Conduct)).
                                                18
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  disqualify an attorney from representation in a case, there must be a showing that

  continued representation is prejudicial to the fairness of the proceeding.66 This Court

  based its Infotechnology holding upon its exclusive authority to enforce the Rules of

  Professional Conduct and to oversee the practice of law in Delaware.67

  4.     This Court should apply an objective standard to a trial court’s sua sponte
         revocation of an out-of-state attorney’s pro hac vice admission.

         Revocation of an out-of-state attorney’s pro hac vice admission is the ultimate

  sanction that a Delaware trial court may impose upon an out-of-state attorney and

  carries far-reaching consequences to the out-of-state attorney’s reputation. 68 A trial

  court moving to revoke an out-of-state attorney’s pro hac vice admission sua sponte

  is an extraordinary action. Though Rule 90.1(e) states that the admitting court may

  revoke the out-of-state attorney’s pro hac vice upon notice and “after [. . .] a

  meaningful opportunity to respond” where the “continued admission pro hac vice

  [would] be inappropriate or inadvisable[,]”69 there is little else to guide courts in

  determining the meaningfulness of the opportunity to respond or what constitutes

  inappropriate or inadvisable continued admission.                This Court’s Rule 11

  jurisprudence pertaining to sua sponte sanctions is illustrative. In Crumplar, this

  Court acknowledged the seriousness of a trial court’s imposition of Rule 11


  66
     Id. at 221.
  67
     Id. at 216-17.
  68
     Raub v. US Airways, Inc. 2017 WL 5172603 (E.D. Pa. Feb. 8, 2017).
  69
     Del. Super. Ct. Civ. R. 90.1(e).
                                               19
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  sanctions sua sponte.70 As such, this Court required that a trial court apply an

  objective standard to determine whether an attorney’s duties under Rule 11 were

  reasonable under the circumstances.71 Similarly, where a court seeks to revoke an

  out-of-state attorney’s pro hac vice admission sua sponte, an objective standard

  should be applied to determine whether the offending conduct is serious enough to

  merit the extraordinary action of pro hac vice revocation and whether continued

  admission is inappropriate or inadvisable.

  5.     An out-of-state attorney must be notified of the conduct subjecting their pro
         hac vice admission to revocation and the out-of-state attorney must be given
         an opportunity to present evidence and respond orally.

         Because of the seriousness of repercussions that follow an out-of-state

  attorney’s pro hac vice admission being revoked, trial courts must have clear

  guidance upon the standard that applies to such a drastic action. It is an extraordinary

  course of action “that should not be taken simply out of hypersensitivity to ethical

  nuances or the appearance of impropriety.72 This Court held that where a trial court

  raises the issue of Rule 11 sanctions sua sponte, the responding attorney must be

  given notice of the error and a meaningful opportunity to present evidence and

  respond orally.73 Similarly, the seriousness, far-reaching consequences, and quasi-




  70
     See Crumplar v. Superior Court, 56 A.3d 1000 (Del. 2012).
  71
     Id. at 1008.
  72
     Sheller v. Superior Court, 158 Cal. App. 4th 1697, 1711 (Cal. Ct. App. 2008).
  73
     Crumplar, 56 A.3d at 1003. (Emphasis added).
                                                 20
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  disciplinary nature of a trial court’s revocation of an out-of-state attorney’s pro hac

  vice demand that the out-of-state attorney be given adequate notice of the offending

  conduct and an opportunity to present evidence and respond orally.74

         Revocation of an out-of-state attorney’s pro hac vice admission sua sponte is

  a quasi-disciplinary proceeding, thus, a trial court should be limited to acting upon

  misconduct that happens before it or within the ambit of the underlying litigation.75

  This Court has repeatedly held that it alone is responsible for the regulation of

  attorney conduct.76       When moving for an out-of-state attorney’s pro hac vice

  admission to be revoked sua sponte, a trial court should follow the same criteria as

  is required for the out-of-state attorney’s admission to be revoked on motion of a

  party; that is the trial court should be convinced by clear and convincing evidence

  that the out-of-state attorney’s continued admission pro hac vice would prejudice

  the “fair and efficient administration of justice” thus making continued admission

  inappropriate or inadvisable. 77




  74
     See Id; Mruz v. Caring, Inc., 107 F.Supp.2d 596, 604 (D.N.J. 2000) (“Notice should consist of
  two things: “the conduct of the attorney that is subject to the inquiry and the specific reason this
  conduct may justify revocation””).
  75
     Accord, 11 Del.C. § 1272; Lendus, 2018 WL 6498674 at *8.
  76
     Crumplar, 56 A.3d at 1009 (where a trial judge believes that attorney misconduct has
  occurred, the proper recourse is referral to the Office of Disciplinary Counsel); Infotechnology,
  582 A.2d at 216-17 (Court rules may not be used in extra-disciplinary proceedings; this Court
  has sole responsibility to govern the Bar).
  77
     Sequoia Presidential Yacht Group LLC v. FE Partners LLC, 2013 WL 3362056 at *1-*2 (Del.
  Ch. Jul. 5, 2013).
                                                  21
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         At a minimum, this Court should require that trial courts invoking their

  inherent power to revoke an out-of-state attorney’s pro hac vice admission sua

  sponte give the out-of-state attorney the same procedural protections as those that

  required under Rule 11(c)(1)(B).78 While sanctions under Rule 11 represent an

  attorney being held accountable for a serious infraction, the consequences of

  revoking an out-of-state attorney’s pro hac vice admission have much more dire and

  far-reaching effect. 79 Thus, out-of-state attorneys admitted pro hac vice should be

  granted an opportunity to present evidence and to be heard orally when responding

  to a trial court’s sua sponte motion to revoke that admission.

  B.     The Superior Court exceeded the boundaries of its inherent power to sanction
         when it revoked Wood’s pro hac vice admission sua sponte.

  1.     The Superior Court’s revocation of Wood’s pro hac vice admission was
         tantamount to a prohibited extra-judicial disciplinary proceeding.

         The Superior Court justified its sua sponte revocation of Wood’s admission

  pro hac vice by pointing to matters in other jurisdictions in unrelated cases which it

  interpreted as violations of the Delaware Lawyers’ Rules of Professional Conduct

  by Wood. None of the grounds relied upon by the Superior Court in revoking

  Wood’s pro hac vice status occurred in its presence, nor could they reasonably be



  78
    Crumplar, 56 A.3d at 1111-12.
  79
     Lendus,2018 WL 6498647 at *9 (Reporting requirements for pro hac vice revocation work a
  punitive effect); Mruz v. Caring, 166 F.Supp.2d 61, 70-71 (D.N.J. 2001) (“revocation of [pro
  hac vice admission] , once bestowed, sends a strong message which works a lasting hardship on
  an attorney’s reputation.”) (internal citations omitted); see also (A0119; A0140 – A0141).
                                                22
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  viewed as prejudicing the fair and efficient administration of justice in the

  underlying litigation.80 The Superior Court thus acted in derogation of this Court’s

  holdings in Crumplar and Infotechnology, prohibiting trial courts from applying

  their rules “in extra-disciplinary proceedings solely to vindicate the legal

  profession’s concerns [with attorney conduct].”81 Trial courts freely acknowledge

  that their extraordinary power to revoke an out-of-state attorney’s pro hac vice

  admission must be exercised with constraint.82

        None of the conduct that the Superior Court relied upon in revoking Wood’s

  pro hac vice admission occurred in the proceedings before it, thus, it cannot sanction

  those actions unless they are prejudicial to the fair and efficient administration of

  justice.83 In the case at bar, while admitted pro hac vice, the behavior at issue

  consisted of Wood representing clients in unrelated matters in other jurisdictions. 84

  Though the cases that Wood was pursuing on his clients’ behalf were controversial,

  there appear to have been no disciplinary actions pursued against Wood.

        In the Wisconsin litigation, the Superior Court fixated on reports of poorly

  drafted initial pleadings and inclusion of an incorrect citation upon which the

  plaintiff in that matter relied in response to a motion to dismiss.             Though


  80
     See Id.
  81
     Crumplar, 56 A.3d at 1010; Infotechnology, 582 A.2d at 2016-17.
  82
     See Lendus, 2018 WL 6498674 at *8; Sequoia, 2013 WL 3362056 at *1-*2; Crowhorn, 2002
  WL 1274052 at *15-*16; Mruz, 166 F.Supp.2d at 70-71’ .
  83
     Crumplar, 56 A.3d at 1009; Infotechnology, 582 A.2d at 216-17.
  84
     (A0005) – (A0008).
                                             23
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  unprofessional, inartful pleadings and incorrect citations do not alone violate rules

  of professional conduct. 85 Moreover, Wood’s level of participation in the drafting

  and filing of the initial pleadings in the Wisconsin litigation is unclear and Wood did

  not himself sign the response to the motion to dismiss in that matter. Had these

  actions occurred in Delaware before the Superior Court in the relevant litigation, the

  trial court would not have had adequate ground to impose Rule 11 sanctions sua

  sponte upon this record, revocation of Wood’s pro hac vice admission upon these

  grounds, therefore, constitutes an abuse of discretion by the Superior Court.86

         The Superior Court’s reliance upon Wood’s Georgia litigation as grounds for

  exercising its inherent power to revoke his pro hac vice admission is similarly

  improper.     Specifically, the Superior Court relied on the Northern District of

  Georgia’s finding that Wood was not able to establish a factual or legal basis

  entitling him to the injunctive relief sought in his suit.87 The Superior Court entirely

  ignored the Northern District of Georgia’s threshold finding that Wood had not

  established the required Article III standing for his case to go forward.88 The




  85
     See, e.g. Bradshaw v. Unity Marine Corp, Inc., 147 F.Supp.2d 668 (S.D. Tex. 2001) (Parties’
  counsel submitted poorly drafted and presented pleadings on motion for summary judgment
  including citation to non-existent volume of Federal Reporter series. The District Court did not
  exercise discretion to find violation of professional rules in that matter.).
  86
     Accord, Crumplar, 56 A.3d at 1009-10.
  87
     See (A0007).
  88
     (A0100).
                                                 24
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  Georgia litigation, thus, was disposed of on procedural grounds. 89 The remainder of

  the Northern District of Georgia’s written decision addressing the merits of Wood’s

  Georgia litigation, was therefore mere dicta.

         The Superior Court, however, termed Wood’s Georgia lawsuit as “textbook

  frivolous litigation”.90 The court does not, however, fails to then define or explain

  why the Georgia litigation is “textbook frivolous litigation”. 91 The decision in

  Wood, Jr. v. Raffensperger, et al, does not at any point term the litigation as

  vexatious, “textbook frivolous”, or as being brought in bad faith.92 No sanctions

  were issued against Wood nor his counsel nor was Wood directed to pay the

  defendants’ attorneys’ fees.93

         Invoking attorney discipline every time a case were dismissed would have a

  significant chilling effect on litigation. A case may be dismissed for any number of

  reasons and it is not a per se instance of attorney misconduct as implied by the

  Superior Court. Though the Northern District of Georgia’s decision in Wood, Jr. v.

  Raffensberger was pending appeal, the Superior Court revoked Wood’s pro hac vice

  admission on the basis that his filing suit “may violated DRPC 3.1”. By contrast,

  the Georgia trial court did not seek disciplinary action against wood for violation of


  89
     (A0100); accord U.S. Const. art. III, § 2, cl. 1; Jacobson v. Fla. Sec’y of State, 974 F.3d 1236,
  1245 (11th Cir. 2020).
  90
     (A0074).
  91
     (A0074 ).
  92
     2020 WL 6817513 (N.D. Ga. Nov. 20, 2020).
  93
     Id.
                                                   25
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  a rule of professional conduct therein. Wood’s participation in the Georgia litigation

  was not a violation of Rule 3.1 of the Delaware Lawyers’ Rules of Professional

  conduct.94

         With respect to the Wisconsin litigation, the Superior Court was further

  “troubled that an error-ridden affidavit of an expert witness would be filed in support

  of Mr. Wood’s case.”95 Incidentally, the Superior Court mistakenly states that

  Russell James Ramsland, Jr. submitted a false affidavit in the Georgia litigation in

  its Rule to Show Cause. The Superior Court conducted no inquiry as to Wood’s

  involvement in drafting and submitting the expert affidavit. In reality, Wood’s

  involvement with the Wisconsin litigation was limited; he was not admitted to

  practice pro hac vice and was only listed as “Counsel for Notice”; he did not at any

  point file a Notice of Appearance on behalf of any party.96 The Superior Court is

  plainly holding Wood accountable for the errors of others directly involved in the

  litigation. Had Wood been afforded an opportunity to respond orally to the Court’s

  Rule to Show Cause, his pro hac vice admission likely would not have been revoked.

         Furthermore, the Wisconsin litigation cited by the Superior Court does not

  cite reference Ramsland’s affidavit.           The Superior Court made not effort to




  94
     See, e.g. Republican Party of Penn. v. Degraffenreid, et al, 592 U.S.___ (2021), (Thomas, J.
  dissenting).
  95
     (A0074).
  96
     (A0050-A0051).
                                                 26
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  substantiate the basis for its allegation that the Ramsland affidavit contained

  materially false information, misidentifying the counties as to which claimed

  fraudulent voting occurred. Wood was not directly involved in the drafting or

  submission of the Wisconsin litigation. Wood, instead, was standby trial counsel if

  necessary. Similar to the Georgia litigation, the Wisconsin litigation was dismissed

  on procedural grounds for lack of standing. The misidentification of the Ramsland

  affidavit is only mentioned to demonstrate that individuals acting in good faith make

  errors, both litigators and lawyers.

         Assuming, arguendo, that Wood’s conduct in the Wisconsin and Georgia did

  constitute violations of the rules of professional conduct, the Superior Court lacked

  the requisite authority to revoke Wood’s pro hac vice admission on that basis; doing

  so would be tantamount to the Superior Court conducting an extra-judicial

  disciplinary proceeding.97 Furthermore, none of the conduct which the Superior

  Court deemed improper happened in the presence of the court or in direct relation to

  the case before it. This Court and Delaware trial courts have routinely held that a

  trial court’s inherent power to sanction attorney conduct is limited to misconduct




  97
    Crowhorn, 2002 WL 1274052 a*16 (“It is not for this court to determine if behavior which
  occurred [in an] unrelated case is per se unethical under the Delaware Rules of Professional
  Conduct.”).
                                                27
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  which happens in the court’s presence, in proceedings related to the case before the

  court, or to conduct prejudicial to the fairness of the proceeding before it.98

  2.     Wood was given an inadequate opportunity to respond to the Superior Court’s
         rule to show cause.

         Rule 11 of the Delaware Rules of Evidence require that an attorney be given

  written notice of offending conduct and an opportunity to present evidence and

  respond thereto when a trial court raises the issue of sanctions sua sponte.99 The

  heightened procedural protections are mandated because of the extraordinary nature

  of the action. 100 A trial court’s sua sponte revocation of an out-of-state attorney’s

  pro hac vice admission is an equally extraordinary action mandating similar

  procedural protections. In the case at bar, Wood was issued a rule to show cause by

  the Superior Court and required to respond in writing. Wood did so. Following

  Wood’s response, the Superior Court took the matter under advisement, and without

  affording Wood an opportunity to present evidence or respond orally, revoked his

  pro hac vice admission. The Superior Court then proceeded to deny Wood’s motion

  for reargument.

         At no point in the process of responding to the Superior Court’s rule to show

  cause was Wood given a meaningful opportunity to respond. Wood’s written

  98
     Nat’l Union Fire Ins. Co. of Pittsburgh, Pa., v. Stauffer Chem. Co., 1990 WL 197864 (Del.
  1990); Ramunno, 625 A.2d at 250; Crowhorn, 2002 WL 1274052 at *15-*16; Crumplar, 56
  A.3d at 1009; Sequoia, 2013 WL 3362056 at *1-*2; Lendus, 2018 WL 6498674 at *8.
  99
     Crumplar, 56 A.3d at 1111-12.
  100
      Id. at 1010-12.
                                                28
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  response to the rule to show cause was given little weight by the presiding judge.

  This is evidenced in the court’s January 11 memorandum order revoking Wood’s

  pro hac vice admission. The court’s memorandum opinion disregards Crumplar’s

  mandate that enhanced procedural protections be afforded to an attorney responding

  to a trial court’s sua sponte imposition of extraordinary sanctions.101

         As anticipated in Mruz, the Superior Court’s January 11 revocation of Wood’s

  pro hac vice admission sent a “strong message” and has begun working considerable

  hardship upon Wood. Within days of the Superior Court’s revocation order being

  entry, counsel for the defendant in an unrelated matter moved the Eastern District of

  New York for revocation of Wood’s pro hac vice admission relying, among other

  things, upon the Superior Court’s January 11 revocation order. 102 It is precisely

  occurrences such as this which mandate that this Court extend Crumplar’s

  procedural protections to sua sponte actions under Superior Court Civil Rule 90.1(e).

         The Superior Court exercised its extraordinary power under Rule 90(e) to

  revoke Wood’s pro hac vice admission for what it perceived to be violations of the

  Rules of Professional Conduct. Though Wood was given an opportunity to respond,

  in light of the extraordinary nature of the sanction, that opportunity to respond was

  procedurally deficient.103 Moreover, the Superior Court’s revocation of Wood’s pro


  101
      (A0073).
  102
      (A0140).
  103
      Crumplar, 56 A.3d at 1111-1112.
                                            29
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  hac vice admission invaded the province of this Court’s exclusive authority to police

  attorney misconduct with regard to the Rules of Professional Conduct; this despite

  the Superior Court’s acknowledgement that the Office of Disciplinary Counsel and

  this Court have the sole authority to determine whether violations of the Rules of

  Professional Conduct have occurred.104 The Superior Court’s exercise of its

  authority under Rule 90.1(e) neglected that none of Wood’s challenged conduct

  prejudicially disrupted the proceedings before it.

         In Delaware, a trial court is justified in revoking an out-of-state attorney’s pro

  hac vice admission on motion of a party only where it can be shown by “clear and

  convincing evidence, that the [behavior] of the attorney in question . . . will affect

  the fairness of the proceedings in [in the case before it].”105 Though Crowhorn

  addressed a trial court’s inherent authority to impose Rule 11 sanctions sua sponte,

  the same standard should apply to the Superior Court’s exercise of its inherent

  authority to revoke an out-of-state attorney’s admission pro hac vice sua sponte.

  The Crowhorn standard of clear and convincing evidence of serious misconduct that

  is prejudicial to the fairness of the proceedings before the court should not be waived

  because the sanction is imposed by the Court sua sponte.



  104
      Infotechnology, 582 A.2d at 220 (“[T]he Rules [of Professional Conduct] are to be enforced
  by a disciplinary agency”); Crumplar, 56 A.3d at 1009 (“If a trial judge believes an attorney has
  committed misconduct, referral to the Office of Disciplinary Counsel [. . .] is the proper recourse
  in the absence of prejudicial disruption of the proceeding.”); (A0071) – (A0073).
  105
      Crowhorn, 2002 WL 1274052 at *15-16.
                                                  30
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            Here, the Superior Court made no finding by clear and convincing evidence

  that Wood’s continued admission pro hac vice would be prejudicial to the

  fundamental fairness of the proceedings before it, thus making continued admission

  “inappropriate or inadvisable.”106 The trial court initially scheduled oral argument

  for the Rule to Show cause on Wednesday, January 13, 2021 at 9:30 a.m. However,

  the Superior Court issued its decision on January 11, 2021 thus depriving Wood of

  a meaningful opportunity to respond to the Rule to Show Cause orally. If Wood had

  been afforded the opportunity to respond orally, the allegations contained in the

  January 11, 2021 Opinion and Order could have been corrected and be put in proper

  context.

            The Superior Court made no finding by clear and convincing evidence that

  Wood’s continued representation would prejudicially impact the fairness of the

  proceedings before it. There was no allegation that Wood acted in an inappropriate

  fashion in regard to the case before the Superior Court. Despite making no factual

  determination as to whether Wood’s continued representation of Page would be

  prejudicial to the underlying litigation, the trial court carried out an extra-judicial

  disciplinary proceeding to publicly sanction Wood with revocation of his

  admission pro hac vice. The sanction occurred despite Wood’s pending request to




  106
        Del. Super. Ct. Civ. R. 90.1(e).
                                             31
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  withdraw his pro hac vice admission.107 Granting Wood’s request would have

  obviated the need for the Sanctions Order and complied with the standard this

  Court sought to enforce making the revocation unnecessary. Instead of granting

  Wood’s request, the trial court sanctioned Wood in a decision that received

  worldwide media coverage. The sanction was issued without an oral hearing and

  without a finding of any professional misconduct.

           The last portion of the decision pontificates on Wood’s “tweets” regarding

  the 2020 Presidential Election. Wood was unable to respond to this portion of the

  decision since the incident took place after the Rule to Show Cause was issued and

  the trial judge cancelled oral argument on the matter. The Superior Court’s order

  implies that Wood’s “tweets”, “and many other things”, incited these riots (in

  reference to the events of January 6, 2021 in Washington D.C.). Although the

  court below states it makes no finding regarding this conduct, and it may be

  considered dicta, an official court decision declaring that Wood’s “tweets” no

  doubt incited the January 6, 2021 riot carries significant weight in the arena of

  public opinion. Wood was not able to respond to such a serious and acrimonious

  allegation.

           After the revocation, Wood, now a pro se litigant, filed a timely Motion for

  Reargument on January 19, 2021. In its February 11, 2021 Memorandum and


  107
        (A0014).
                                             32
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  Order, the Superior Court references in a footnote that Wood failed to file the

  motion electronically. However, Wood, as a pro se litigant at this point, was not

  able to file electronically and therefore filed a paper copy. In addition, the Court

  states that “Wood’s disregard for our Rules is consistent with his practice in other

  courts, part of the reason his pro hac vice status was revoked.”

        Wood’s admission was not revoked for any conduct in the Delaware case.

  Rather, Wood’s admission was revoked after the Superior Court’s review of out-

  of-state decisions involving the 2020 Presidential Election. The Superior Court

  ignored Wood’s pro se Motion for Reargument because it was not electronically

  filed. The Superior Court abused its discretion by rejecting Wood’s pro se Motion

  for Reargument.




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                                     CONCLUSION

        The lower court revoked Wood’s pro hac admission based on out of state

  court actions where no ethical violations were found. As a result of that decision,

  not only is Wood’s admission to practice in Delaware revoked but sister courts are

  relying on the Superior Court’s January 11 Order to revoke his pro hac vice

  admission elsewhere.

        Remand for future hearings is futile as neither opposing counsel nor did the

  other courts assert misconduct by Wood to support a remedy of revocation. In the

  alternative of an outright dismissal of the trial court’s revocation decision, this

  Court should vacate the revocation decision and allow Wood to withdraw his

  admission pro hac vice, hereby rendering the issue moot.

         For the foregoing reasons, Appellant L. Lin Wood respectfully requests that

  this Honorable Court dismiss the January 11, 2021 order of the Superior Court

  revoking Wood’s admission pro hac vice.

                                                  Respectfully submitted,


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